444 F.2d 1092
    170 U.S.P.Q. 435
    CUTLER-HAMMER, INC., Plaintiff-Appellee,v.STANDARD RELAY CORP., Defendant-Appellant.CUTLER-HAMMER, INC., Plaintiff-Appellee,v.UNIVERSAL RELAY CORP., Defendant-Appellant.
    Nos. 956, 957, Dockets 71-1115, 71-1116.
    United States Court of Appeals, Second Circuit.
    Argued June 29, 1971.Decided June 29, 1971.
    
      Samuel M. Sprafkin, New York City (Mandel M. Einhorn, New York City, on the brief), for defendants-appellants.
      Andrew O. Riteris, Milwaukee, Wis.  (Michael, Best &amp; Friedrich, Milwaukee, Wis., Herbert C. Earnshaw, Royall, Koegel &amp; Wells, New York City, on the brief), for plaintiff-appellee.
      Before MOORE, FEINBERG and MANSFIELD, Circuit Judges.
      PER CURIAM:
    
    
      1
      After an extensive non-jury trial in these consolidated actions in the United States District Court for the Southern District of New York before Edmund L. Palmieri, J., plaintiff Cutler-Hammer, Inc. was awarded judgment against defendants Standard Relay Corp., and Universal Relay Corp.  We have considered appellants' lengthy papers on appeal, as well as their oral argument, but we conclude that we should affirm the judgment on the thorough opinion of judge Palmieri, reported at 328 F.Supp. 868.
    
    
      2
      The mandate shall issue forthwith.
    
    